                            IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF WISCONSIN


CORVON L. JONES,

                          Plaintiff,
vs.                                                               CASE NO. 2:15-CV-00051-WED

OMARLO PHILLIPS, et al.,

                          Defendants.


                            PLAINTIFF’S MOTIONS IN LIMINE
                       AND INCORPORATED MEMORANDUM OF LAW


        Pursuant to the Court’s September 8, 2016 Scheduling Order and Federal Rules of

Evidence 401 through 404, Plaintiff Corvon L. Jones hereby moves in limine for an order:

        1.       Excluding from evidence any reference to Plaintiff’s criminal convictions that
                 pre-date October 28, 2014,1 as well as the convictions arising out of the October
                 28, 2014 incident at issue; and

        2.       Excluding from evidence any reference to any hearsay statements included in the
                 October 29, 2014 Incident Report submitted by Sgt. Charles Grimm.

The factual and legal grounds for these motions are set forth below in Plaintiff’s Incorporated

Memorandum of Law.

                                              BACKGROUND

                 Plaintiff brought this lawsuit under 42 U.S.C. § 1983, because Defendants

violated his civil and constitutional rights when arresting him on October 28, 2014. Following

the arrest that is the subject of this lawsuit, Plaintiff was convicted of two drug-related offenses,

resisting arrest, and bail jumping. He was convicted of a few similar offenses previously.



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           Counsel for Defendants previously represented that Defendants will not seek to introduce evidence of any
of Plaintiff’s convictions from before the October 28, 2014 incident at issue in this case.




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               Many of the facts in this case are not in dispute. Trial will focus on a few key

factual disputes between the parties regarding the force used by Defendants in arresting Mr.

Jones on October 28, 2014, which the parties are anticipated to dispute vigorously.

               On October 28, 2014, Mr. Jones was sitting in the passenger seat of a car parked

on private property in the Sherman Park neighborhood of Milwaukee. (Dkt. 46 (Phillips Decl.)

¶¶ 2-5; Dkt. 47 (Spano Decl.) ¶¶ 5-7; see also Dkt. 56 (Jones Decl.) ¶ 4.) Defendants are police

officers who were on bicycle patrol in the area; they approached the vehicle. (Dkt. 47 (Spano

Decl.) ¶¶ 2-6.) Defendant Tuschl approached the driver-side window of the vehicle and directed

Defendant Phillips to approach the passenger-side window after he noticed Mr. Jones sitting in

the front passenger seat. (Dkt. 46 (Phillips Decl.) ¶ 7; Dkt. 48 (Tuschl Decl.) ¶¶ 9-11.) After a

brief exchange with Defendant Phillips, Mr. Jones attempted to exit the vehicle. (Dkt. 47 (Spano

Decl.) ¶¶ 8-12.) Defendant Phillips attempted to prevent Mr. Jones from leaving the vehicle and

a physical altercation ensued. (Dkt. 46 (Phillips Decl.) ¶¶ 15-19; Dkt. 47 (Spano Decl.) ¶¶ 13-

34; see also Dkt. 56 (Jones Decl.) ¶¶ 4-11.)

               According to Defendants, Mr. Jones “head butted” Defendant Phillips after he

exited the vehicle and the other Defendants joined Defendant Phillips in attempting to restrain

Mr. Jones. (Dkt 46 (Phillips Decl.) ¶¶ 20-21; Dkt. 47 (Spano Decl.) ¶¶ 14-20.) Defendants

claim that Mr. Jones actively resisted their efforts to restrain him. (Dkt. 46 (Phillips Decl.)

¶¶ 24-32.) Defendants acknowledge punching and/or kneeing Mr. Jones in the abdomen, back,

shoulders, and jaw. (Dkt. 48 (Tuschl Decl.) ¶¶ 23-37; Dkt. 49 (Zawikowski Decl.) ¶ 20; see also

Dkt. 50 ¶¶ 4-8.) Defendant Zawikowski bent Mr. Jones’s arm in such a fashion as to tear several

ligaments in the process. (Dkt. 49 (Zawikowski Decl.) ¶¶ 24-25; Dkt. 56 (Jones Decl.) ¶ 7.) Mr.

Jones contends that Defendants continued their assault on Mr. Jones after he had been taken to



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the ground, choking him unconscious, and even blinding him temporarily – after he had been

cuffed – by firing mace into Mr. Jones’s eyes. (Dkt. 56 (Jones Decl.) ¶¶ 7-8.) Mr. Jones

acknowledges that he attempted to leave the vehicle and extricate himself from the situation, but

will testify that he took no action against Defendants except to cover his face to protect himself

from Defendants’ repeated assaults. (Dkt. 56 (Jones Decl.) ¶¶ 9-11.)

               Defendants’ use of force was excessive, and therefore violated Mr. Jones’s rights

under the Fourth Amendment.

               Trial will be limited to the following issues:

               (1) Were Defendants’ strikes, physical holds, and application of mace – whether

                   individually or in combination –excessive?

               (2) Did certain Defendants fail to intervene?

               (3) What compensatory damages are owed to Mr. Jones?

               (4) If compensatory damages are awarded to Mr. Jones, did any Defendant act

                   with malice or reckless disregard of Mr. Jones’s rights such that he is entitled

                   to an award of punitive damages?, and

               (5) What punitive damages are owed to Mr. Jones?

                                          ARGUMENT

               While the issues for trial are relatively limited, Mr. Jones brings these two

motions in limine to confine the evidence presented to that relevant to the claims and defense

actually at issue in this lawsuit. Plaintiff anticipates that Defendants may attempt to improperly

raise issues regarding his criminal history so as to confuse and prejudice the jury, and that

Defendants may seek to introduce inadmissible evidence of third-party hearsay. For the reasons

outlined below, Mr. Jones asks that the Court grant both motions in limine.



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I.     Plaintiff’s Criminal History Is Irrelevant to this Matter and Its Introduction Would
       Be Highly Prejudicial.

       Plaintiff anticipates that Defendants will seek to admit evidence of Plaintiff’s convictions

that followed his arrest on October 28, 2014. Evidence of Plaintiff’s criminal history, including

the following convictions, should be excluded from trial under Federal Rules of Evidence 401

through 404:

           •   Wis. Case No. 2008CF006188 – Possession with Intent to Distribute (Cocaine)
           •   Wis. Case No. 2009CF002900 – Bail Jumping
           •   Wis. Case No. 2014CF004826 – Possession with Intent to Distribute (Cocaine)
           •   Wis. Case No. 2014CF004826 – Possession with Intent to Distribute (THC)
           •   Wis. Case No. 2014CF004826 – Resisting Officer (hereinafter, the “Resisting
               Conviction”)
           •   Wis. Case No. 2014CF004826 – Bail Jumping

               a.      Plaintiff’s Possession of Controlled Substances and Bail Jumping
                       Convictions are Completely Irrelevant and Unfairly Prejudicial.

       Under Federal Rule of Evidence 401, Plaintiff’s convictions for possession of controlled

substances and bail jumping are in no way relevant to the factual disputes in this case or the

ultimate question of whether Defendants violated Plaintiff’s constitutional rights by applying

excessive force, and therefore should be excluded under Federal Rule of Evidence 402.2 Simply

put, Plaintiff’s criminal history does not have a tendency to make any fact relevant to the

question of whether Defendants used excessive force in arresting him more or less likely.

“Evidence which is not relevant is not admissible.” Fed. R. Evid. 402.

       The only possible use of Plaintiff’s convictions for possession of controlled substances

and bail jumping would be as impermissible character evidence, which is precluded by Federal

Rule of Evidence 404(b). Such character evidence is excluded because “[i]t tends to distract the

trier of fact from the main question of what actually happened on a particular occasion” and it

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  Counsel for Defendants has agreed not to seek to introduce evidence relating to the convictions
in Case Nos. 2008CF006188 and 2009CF002900.

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“subtly permits the trier of fact to reward the good man and punish the bad man because of their

respective characters despite what the evidence in the case shows actually happened.” Fed. R.

Evid. 404, advisory committee notes to the 1972 proposed rules (internal quotations omitted);

see also Huddleston v. United States, 485 U.S. 681, 686 (1988) (recognizing the danger with

propensity and character evidence); U.S. v. Neely, 980 F.2d 1074, 1080 (7th Cir. 1992) (noting

that “[e]vidence of prior convictions is not admissible . . . to ‘stink up’ a witness’ character”).

        Furthermore, Plaintiff’s possession and bail jumping convictions do not impact Plaintiff’s

credibility and cannot be used for impeachment purposes under Federal Rule of Evidence 609(a).

See, e.g., Carter v. Becker, 966 F. Supp. 798, 800 (E.D. Wis. 1997) (ruling that evidence

regarding the nature of the plaintiff’s previous drug convictions was “not of a nature that affect

his credibility” and was irrelevant to the plaintiff’s § 1983 action); Brandon v. Maywood, 179 F.

Supp. 2d 847, 854 (N.D. Ill. 2001) (holding that the potential for unfair prejudice arising from

evidence of the plaintiff’s previous drug convictions substantially outweighed any value to the

jury in considering the plaintiff’s credibility under Rule 609(a)).

        Even were these convictions relevant in some attenuated fashion to the case at hand, their

admission into evidence would carry with it with a danger of unfair prejudice that would

substantially outweigh any probative value under Federal Rule of Evidence 403. See Ott v. City

of Milwaukee, No. 09-C-870, 2015 U.S. Dist. LEXIS 32614, at *3 (E.D. Wis. Mar. 17, 2015);

see also Cianfaglione v. Rogers, No. 10-CV-02170, 2012 U.S. Dist. LEXIS 77122, at *20 (C.D.

Ill. June 4, 2012) (ruling that the plaintiff’s previous arrests could have “no real relevance” to

§ 1983 claim and that “any minimal relevance is substantially outweighed by the danger of

unfair prejudice”). Thus, Plaintiff’s convictions for drug possession and/or bail jumping have no

place at trial in this lawsuit.



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                b.      Plaintiff’s Resisting Conviction is also not Relevant to the Issues at
                        Hand and would be Unfairly Prejudicial.

        While the incident that led to the Resisting Conviction is the subject of this lawsuit, the

fact of the Resisting Conviction itself is not relevant to the jury’s evaluation of the constitutional

claim that will be presented to it. See Maus v. Greening, No. 09-C-42, 2012 U.S. Dist. LEXIS

148640, at *2-3 (E.D. Wis. Oct. 15, 2012) (holding that the “fact of conviction” of the plaintiff’s

attempted battery conviction was “not relevant” to the plaintiff’s § 1983 claim). The present

lawsuit centers on whether Defendants used excessive force when they struck Plaintiff numerous

times and used multiple applications of mace during the encounter, not whether Plaintiff

committed any crimes. Although the actions of Plaintiff and Defendants during the October 28,

2014 incident are certainly relevant, the fact that Plaintiff was subsequently convicted of the

criminal offense of resisting arrest is not.

        Plaintiff does not object to Defendants proffering evidence regarding what the parties did

or did not do during the arrest incident, only to an attempt by Defendants to use the fact of the

Resisting Conviction to prejudice the jury against Plaintiff. As the Court has already ruled as a

matter of law, Plaintiff’s Resisting Conviction does not operate to bar his § 1983 claim. (Dkt. 63

at 11.) And, in Evans v. Poskon, 603 F.3d 362, 364 (7th Cir. 2010), the Seventh Circuit ruled

that a resisting arrest conviction is not incompatible with an excessive force claim.

        Thus, Defendants’ use of the Resisting Conviction would simply be to attempt to

prejudice Plaintiff in the eyes of the jury as a bad person, deserving of the excessive force

applied by Defendants rather than the relief he requests in this action. Such a purpose is

improper under Federal Rule of Evidence 404, which states: “Evidence of a crime, wrong, or

other act is not admissible to prove a person’s character in order to show that on a particular

occasion the person acted in accordance with the character.”


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       At bottom, whether Plaintiff was convicted of a crime as a result of his actions during the

October 28, 2014 incident will not assist the jury in determining whether Defendants acted

reasonably in applying the level of force that they did in arresting Plaintiff. Plaintiff’s Resisting

Conviction was not entered until months after the October 28, 2014 incident—it could not have

informed Defendants’ consideration of the reasonableness of force on that date. See Maus v.

Greening, No. 09-C-42, 2012 U.S. Dist. LEXIS 148640, at *2-3 (E.D. Wis. Oct. 15, 2012)

(ruling that evidence that the plaintiff was convicted of attempted battery was “irrelevant” to the

plaintiff’s § 1983 claims); LaSalvia v. City of Evanston, No. 10-C-3076, 2011 U.S. Dist. LEXIS

133825, at *4 (N.D. Ill. Nov. 21, 2011) (stating that evidence of the plaintiff’s conviction of

resisting arrest “would add little to the jury’s evaluation of the reasonableness of the officers’

actions ‘at the time of the arrest’”); Ward v. Tinsley, No. 1:10-CV-329, 2011 U.S. Dist. LEXIS

142763, at *7 (N.D. Ind. Dec. 12, 2011) (stating that “significant prejudice or confusion could

arise if the jury seeks to retroactively gauge the reasonableness of [the defendants’] use of force

against the knowledge that criminal charges were later lodged by the prosecuting attorney”).

       Furthermore, regardless of whether Defendants might attempt to introduce Plaintiff’s

Resisting Conviction as substantive evidence or for impeachment purposes under Federal Rule of

Evidence 609(a), such evidence is subject to the balancing test imposed by Federal Rule of

Evidence 403, which provides that relevant evidence “may be excluded if its probative value is

substantially outweighed by the danger of unfair prejudice, confusion of the issues, or misleading

the jury.” District courts have “broad discretion” under Federal Rule of Evidence 403 to limit

unfairly prejudicial evidence. Cruz v. Safford, 579 F.3d 840, 845 (7th Cir. 2009) (affirming

district court’s limits on cross-examination regarding witness’s previous criminal convictions in

a § 1983 case); see also Maus, 2012 U.S. Dist. LEXIS 148640, at *2 (excluding attempted



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battery conviction in excessive force case because even if it had “minimal relevance, its

probative value is substantially outweighed by the risk of confusion and unfair prejudice”); cf.

Tatum v. Clarke, No. 11-C-1131, 2015 U.S. Dist. LEXIS 143830, at *7 (E.D. Wis. Oct. 22,

2015) (partially granting motion to limit Rule 609(a) impeachment use of the plaintiff’s

convictions because “[m]urder does not implicate truthfulness”).

        Again, Plaintiff does not object to Defendants testifying about what happened on

October 28, 2014 and why they believe the degree of force they used was appropriate. The jury

will determine whether Defendants’ use of force was excessive in light of the circumstances

known to Defendants at the time. But in addition to being irrelevant, evidence regarding

Plaintiff’s Resisting Conviction would carry with it a significant risk of unfair prejudice as the

jury might “presume , erroneously, that police officers have unbridled license to use whatever

force is necessary—even excessive force—in effectuating the arrest of an individual who has

resisted.” LaSalvia, 2011 U.S. Dist. LEXIS 133825, at *4-5 (internal quotation omitted). The

Seventh Circuit has instructed that “courts should be careful to ensure that a civil rights

plaintiff’s criminal past is not used to unfairly prejudice him or her.” Gora v. Costa, 971 F.2d

1325, 1331 (7th Cir. 1992); see also Geitz v. Lindsey, 893 F.2d 148, 151 (7th Cir. 1990) (“We

are mindful of our duty to ensure that this class of civil rights plaintiffs are not unfairly

prejudiced by the use of their criminal pasts against them.”).

        For these reasons, Plaintiff asks that the Court issue an order excluding all references or

evidence relating to Plaintiff’s criminal history or convictions.

II.     Certain Statements Allegedly Made to Sgt. Grimm and Contained in the
        October 29, 2014 Incident Report Are Inadmissible Hearsay.

        In the course of the investigation into the October 28 incident, the Milwaukee Police

Department generated a number of reports. Among these was an Incident Report dated


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October 29, 2014, where Sgt. Charles Grimm purports to have interviewed a witness to the event

and attempted to interview other witnesses as well (the “Grimm Report”). The statements of the

witnesses to Sgt. Grimm constitute inadmissible hearsay and should be excluded from evidence.

         The Grimm Report contains two basic accounts. The first is Grimm’s alleged attempts to

interview witnesses at 4024 West Burleigh Street. According to Grimm, one woman told him

that she “didn’t see shit,” and eight people in the home’s living room “stated they had not seen

anything.” At 4028 West Burleigh Street, an alleged witness named Joseph Smith is purported

to have said:

                  I seen it all. I saw the officers approaching the car. That fool tried
                  to run. He should of [sic] just gone to jail like he should of [sic]. I
                  bet a million bucks he got warrants. He started by slamming that
                  car door into the officers. Man, them officers was ordering him
                  down and he wouldn’t go down! I’m usually not on the side of the
                  police, but they did nothing wrong. Man! That dude got two
                  steps, and they was on him like flies on shit! They did a good job!
                  He riled up the entire neighborhood for his shit. Should’ve just
                  gone to jail.

         To the extent that Defendants seek to offer these statements to prove the truth of the

matters asserted, they must be excluded as inadmissible hearsay. Fed. R. Evid. 801(c). They are

statements made out of court to prove the truth of the matter asserted (i.e., that the witnesses did

not see anything or that Defendants did nothing wrong).3

         To the extent that Defendants attempt to argue that the alleged witnesses’ statements are a

business record of the Milwaukee Police Department and therefore admissible, the Seventh

Circuit has squarely rejected such a claim. The written statement of a non-party declarant does

not qualify for the business record exception to the hearsay rule simply because it ends up in a

party’s records. “The fact that statements made by strangers to the business become a part of its
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           Technically, the statements are double hearsay, as the statements are being reported in the Grimm Report,
which is itself another out of court statement. Because the statements are themselves hearsay, Plaintiff need not take
a position on whether the Grimm Report itself could be admissible under any hearsay exception.


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records . . . does not make them business records unless they are verified by the business and

thus adopted and become the business’s own statements.” United States v. Santos, 201 F.3d 953,

963 (7th Cir. 2000) (reversing as “clearly incorrect” the admission under Rule 803(6) of

complaints made against defendant, explaining that records were not within the business record

exception merely because the defendant accepted complaints and kept copies in its records). In

other words, the business records hearsay exception “is inapplicable to information received

rather than prepared by the business.” Id.

        Finally, even if the statements somehow otherwise could qualify as a business record, the

contents of the statement “indicate a lack of trustworthiness,” such that the Grimm Report would

still need to be excluded. Fed. R. Evid. 803(6)(e). First, Joseph Smith (the witness located at

4028 West Burleigh Street) testified at length during Plaintiff’s criminal trial, and the testimony

was wildly inconsistent with the statements contained in the Grimm Report. Indeed, Mr. Smith

testified that Plaintiff tried to get out of the passenger side of the car only after the driver of the

car lunged forward over officers’ bicycles, and that all he saw was the officers surround the car

and immediately take him down once he opened the door. (See Reuter Decl. Ex. A, Transcript of

Jury Trial, Morning Proceedings February 3, 2015, Case No. 2014-CF-004826 (Mil. Cnty. Cir.

Ct.) at 62:15-65:19.) Second, despite the report claiming that Sgt. Grimm interviewed witnesses

at 4024 West Burleigh Street, no such street address exists. Accordingly, Sgt. Grimm could not

have interviewed witnesses at such an address.

        Therefore, because the Grimm Report contains inadmissible hearsay that may not be

entered into evidence under any hearsay exception, the evidence should be excluded from trial.




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Dated: March 20, 2017                 FOLEY & LARDNER LLP

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